                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE



 UNITED STATES OF AMERICA                     )
                                              )
 v.                                           )   CASE NO. 3:07-CR-126-PLR
                                              )
 ANTHONY BILLINGSLEY                          )




                            MEMORANDUM AND ORDER


       This matter is before the court on the defendant’s motion for sentence reduction

 pursuant to Amendment 782 to the United States Sentencing Guidelines [R. 335, 337].

 The government has responded deferring to the court’s discretion whether and to what

 extent to reduce defendant’s sentence [R. 338]. The United States Probation Office has

 provided the court with a memorandum regarding retroactivity of Amendment 782. The

 defendant is presently scheduled for release on April 2, 2018.

       The defendant was convicted of conspiring to distribute and possess with intent to

 distribute cocaine base, in violation of 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(A).

 Defendant was held responsible for 86.6 grams of crack cocaine and 2,517 kilograms of

 cocaine hydrochloride [R. 198].

       At sentencing, defendant’s base offense level was 27, with a criminal history

 category IV, resulting in an advisory guideline range of 100 - 125 months, restricted by

 the 240-month enhanced statutory mandatory minimum. See 21 U.S.C. § 841(b)(1)(A).




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 The government filed a motion for downward departure in light of defendant’s substantial

 assistance, pursuant to 18 U.S.C. § 3553(e) and USSG § 5K1.1. The court granted the

 motion and sentenced defendant to 144 months imprisonment, 40 percent below the

 restricted guideline range [R. 198].

        Amendment 782 reduces the guideline range applicable to defendant. Pursuant to

 Amendment 782, defendant’s base offense level is 25, with a criminal history category

 IV, resulting in an amended guideline range of 84 - 105 months. Giving defendant a

 comparable adjustment for substantial assistance (40%), and taking into account the

 policy statements set forth at USSG § 1B1.10 and the sentencing factors set forth in 18

 U.S.C. § 3553(a), it is hereby ORDERED that the defendant’s motion [R. 335, 337] is

 GRANTED, and the defendant’s sentence is reduced to 50 months.

        If this sentence is less than the amount of time the defendant has already served,

 the sentence is reduced to a “time served” sentence. See USSG § 1B1.10(b)(2)(C).

        Except as provided above, all provisions of the judgment dated March 19, 2009

 shall remain in effect. The effective date of this order is November 2, 2015. See

 USSG § 1B1.10(e)(1).

        IT IS SO ORDERED.

        Enter:



                                          ____________________________________
                                          UNITED STATES DISTRICT JUDGE




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